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                      Exhibit 1
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                                                                                                         USOO6972774B2


(12) United States Patent                                                         (10) Patent No.:                     US 6,972,774 B2
       Eguchi                                                                     (45) Date of Patent:                               Dec. 6, 2005
(54) IMAGE PROCESSING SYSTEM FOR                                                      5,627,651 A * 5/1997 Seto et al. ................. 358/3.15
        INSERTING PLURALITY OF IMAGES INTO                                            5,636,334 A *       6/1997 Hidaka ..........             ... 345/419
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(75) Inventor: Harutaka Eguchi, Kawasaki (JP)                                         5,977.965 A * 11/1999 Davis et al. ......                ... 345/723
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(73) Assignee: Fujitsu Limited, Kawasaki (JP)                                         5,982,350 A * 11/1999 Hekmatpour et al. ....... 345/629
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(*) Notice:            Subject to any disclaimer, the term of this                    6,137.498 A * 1638 SN, - - - - - -                        ... 3i?:
                       patent is extended or adjusted under 35                        6,266,068   B1*      7/2001   Kang et al. .......        ... 34.5/629
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(21) Appl. No.: 09/737,489                                                            6,342,900   B1*      1/2002   Ejima et al. ................ 345/698
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(22) Filed:     Dec. 18, 2000                                                         6,417.848   B1*      7/2002   Battle ........            ...   345/419
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(65)                      Prior Publication Data                                      6,480,199   B1*     11/2002   Oomori et al. .............      34.5/536
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        US 2001/OO15729 A1                Aug. 23, 2001                               6,590,586   B1*      7/2003   Swenton-Wall et al. ...          345/730
(30)          Foreign Application Priority Data                                * cited by examiner
  Feb. 21, 2000 (JP) ............................. 2000-043672                 Primary Examiner-Kee M. Tung
                                                                               ASSistant Examiner-Enrique L. Santiago
(51) Int. Cl." ................................................ G09G 5/00      (74) Attorney, Agent, or Firm-Staas & Halsey LLP
(52) U.S. Cl. ...................................................... 345/629
(58) Field of Search ................................ 345/629, 634,            (57)                        ABSTRACT
                      345/635, 55, 56,419,531, 540, 641, 790,                  An image processing System according to the present inven
                    345/794, 555,565, 420, 421, 422,423,424,                   tion aiming at providing a function capable of efficiently
                    345/426,427, 428,619, 625, 628, 630, 638,                  managing and utilizing image data, comprises a display unit
                              345/473,474, 475; 715/790, 794                   for displaying on a Screen a composite area as an aggrega
(56)                      References Cited                                     tion of unit areas into which images are inserted, and an
                                                                               operation unit for inserting a processing target image into the
                  U.S. PATENT DOCUMENTS                                        unit area within the composite area.
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                                                                  ENVIRONMENT SETTNG
                                                                        PROCESS

                                                         DISPLAY ENVIRONMENT SETTING MENU
                                                         SCREEN


                                             WAT USER S OPERATIONS (SUCH ASSETTING CONSECUf VE
                                             PHOTOGRAPHNG INTERVAL BACKGROUND COLOR, BLOCKSZE
                                              N NSERT AREA AND NUMBER OF BLOCKS)




                                                               SORE SETING CONDON




                                                                     END OF PROCESS
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                              FIG. 1




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                       FIG 2



                         1 O


       IMAGE ACQUISTION DEVICE

                                                       2OO
  r


                            2O

                CPU                        TOUCH PANEL

                            2O2

                MEMORY                     HARD DISK




                                           KEYBOARD


  -
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                                         FIG. 4
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                                  FIG. 5




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                                  FIG. 6




                                                    NORMAL ru?? “
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                                                       SEE
                                                       INSERT




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                                  FIG. 8




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                                  FIG. 9




                                                     NORMAL

                                                       TAKE OFF
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       st FRAMES 5.
      2 3.
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                            FIG 11

                              NSERT PROCESS

          READ NUMBER OF INSERT BLOCKS, (LENGTHWISE, CROSSWISE)        S3
          DMENSIONS OF BLOCK, BACKGROUND COLOR OF INSERT AREA
         CALCULATE (LENGTHWISE, CRSSWISE) DIMENSONS OF                 S32
         INSERT AREA, ENSURE IMAGE MEMORY AREA FOR NSERT AREA
                EVELP BEFORENSERT   R      A.   .     NME   W          S33
              AND DISPLAYTON SCREEN
                       DETECT USERS DRAG & DROP                       S34
            N                                                   S35
                    IS IMAGE DROPPED EN INSERT AREA


                     DETECT NUMBER OF INSERT TARGETS                   S36


                   CACULATE POSION OF NEXT SNER BLOCK

                                                                S38
                  S BLOCK POSITION WITHN INSERT AREA


         MODIFY DEMENSIONS OF ORIGINAL IMAGETO DIMENSIONS OF
         NEXT INSERT BLOCK,
         COPY THEM TO BLOCK POSITON, AND DISPLAY THEM ON SCREE

          DECREMENT NUMBER OF INSERT TARGETS BY "1" (-1)

                                                         -y S3b
            sis is reig day         N
                            END OF PROCESS
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                            FIG. 12


               TRANSFERRING/DELETING PROCESS

   DETECT SELECTION OF INSERTED IMAGE (TO BE TRANSFERRED)            S51
    WITH IN INSERT AREA

         DETECT DRAG & DROP TO TRANSFER DESTINATION                  S52

                                                    S53
                    STRANSFER DESTINATION                N
                    WTHIN INSERT AREA
                                   Y
                                                        54

      CALCULATE POSITION OF TRANSFER DESTINATION BLOCK               S56

                                                  DELETETRANSFER ORIGINATING
                                                   NSERTED IMAGE
                                                    S55

          TRANSFER INSERTED IMAGE TO BLOCK POSITION



                          END OF PROCESS
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                           FIG         3


              NSERTED IMAGE STORMG PROCESS

                                    S 7
              REDUCE MAGE N INSERT AREA
               DOWN TO S ZE OF ONE FRAME



                                 S7 2
      DSPLAY REDUCED IMAGE ON PHOTOGRAPHED
               MAGE DISPLAY UN


                                    S 73
              STORE SYNTHES ZED IMAGE IN
                     HARD DSK 204



                         END OF PROCESS
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                              FIG. 14

                       ENVIRONMENT SETTING
                             PROCESS

               D!SPLAY ENVIRONMENT SETTING MENU
               SCREEN


   WAT USER SOPERATIONS (SUCH AS SETTING CONSECUT VE
   PHOTOGRAPHING INTERVAL, BACKGROUND COLOR, BLOCKSZE
     N NSERT AREA AND NUMBER OF BLOCKS)



                                  e                 S 93 N
                             Y

                     SORE SETTING CONDON




                           END OF PROCESS
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                                  FIG. 15




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                                               FIG 16




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      B5                  B7                   IR
     B8, B9 Ba                           “
                     Yv            | --                     B6

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                              1                                                                        2
       IMAGE PROCESSING SYSTEM FOR                                        It is another object of the present invention to provide an
    INSERTING PLURALITY OF IMAGES INTO                                 image processing technology of processing a plurality of
         COMPOSITE AREA, AND MEDIUM                                    images, which can be Sufficiently utilized in a System with
                                                                       a low throughput and poor resources.
         BACKGROUND OF THE INVENTION
                                                                          To accomplish the above objects, according to one aspect
  1. Field of the Invention
                                                                       of the present invention, an image processing System com
                                                                       prises a display unit for displaying, on a Screen, a composite
   The present invention relates to a technology of operating          area as an aggregation of unit areas into which images are
image data.                                                            inserted, and an operation unit for inserting a processing
   2. Description of the Related Art                                   target image into the unit area within the composite area.
   What is exemplified as this type of conventional technol
ogy may be a technology of managing a plurality of images                 The image inserted into the unit area may be transferable
by laying out these images on a sheet as in the case of a              to other unit area within the composite area.
photo album.                                                              The image inserted into the unit area may be deleted by
                                                                  15   transferring the same image to a position outside the com
   This technology is capable of laying out the images in any
positions on the Sheet. Further, according to this conven              posite area.
tional technology, it is feasible to lay out the images So that           The processing target image may be inserted into the unit
they overlap with each other, and that the user may specify            area by a drag-and-drop operation.
which target image appears as the first image when Viewed,                The image processing System described above further
and which image is placed behind the first image where the             comprise a transfer detection unit for indicating a processing
images overlap. Further, the user may arbitrarily Specify a            target image and detecting a transfer of the indicated image,
different size for each image that is laid out.                        and the indicated image may be inserted into the unit area.
   According to this conventional technology, it is required
that a System (Software) manages positional data of the                   In the image processing System described above, the
                                                                  25
respective images laid out on the sheet, overlap data (front           composite area into which the images are inserted may be
Surface/rear Surface) between the images, and size data of             Stored as an image having predetermined dimensions.
the images in order to actualize the function described                Herein, the image having the predetermined dimensions
above. A technique of managing the overlapped State                    implies an image having a predetermined number of pixels.
between the images is generally known as a layer manage                   The image processing System described above may fur
ment.                                                                  ther comprise a related image indicating module for relating
   On this type of sheet, when a new image is disposed on              a plurality of images to each other, and when the processing
the sheet, or when a position of the image that has already            target image is related to other images, the related images
been disposed on the sheet shifts, the respective images are           may be consecutively inserted together with the processing
re-respective image Segments which should be displayed,           35   target image into the plurality of unit areas. In this case,
from various items of management data Stored.                          when the number of images to be inserted exceeds the
   Hence, this type of conventional technology requires a              number of insertable unit areas, the image insertion may be
great quantity of resources for retaining a multiplicity of            finished.
pieces of management data, and the process of re-forming
each image is a load on the System (Software). Therefore, a       40
                                                                          The composite area may be composed of the unit areas
System having poor resources and a low throughput is                   having different dimensions.
insufficient for utilization of that technology.                         According to another aspect of the present invention, an
   On the other hand, with a development of the Internet and           image processing System comprises a plurality of unit Stor
a spread of digital cameras, the image data have come to be            age areas for Storing processing target images, and a control
dealt with in daily lives. Further, a mobile environment for      45   unit for controlling an access to each of the unit Storage
portable terminals, cellular phones etc that are capable of            areas, and the control unit may Store the processing target
operating the image data, has remarkably been developed.               unit images in the plurality of unit Storage areas, accesses the
Under Such a trend, it is much of importance to users who              unit Storage areas in a predetermined Sequence, thereby
operate the images to efficiently manage and utilize the               generating a composite image from the unit images. In this
created image data etc. Particularly under the environment        50   case, the unit Storage areas may have different capacities,
with poor resources for mobile equipment, a function of                and the composite image may be composed of the unit
efficiently operating and editing the image data etc is also           images having different dimensions.
required.
   The prior arts did not, however, provide Such a function              According to a further aspect of the present invention,
that the user is able to efficiently operate and edit the image   55
                                                                       there is provided a readable-by-computer recording medium
data, Such as combining and Synthesizing the plurality of              recorded with a program for making a computer actualize
images into a new image. Moreover, there was not provided              the function described above.
a function of efficiently managing and utilizing the images               AS explained above, according to the present invention,
under the environment with the poor resources Such as a                the image processing System comprises the display unit for
memory and a disk capacity.                                       60   displaying, on the Screen, the composite area as the aggre
                                                                       gation of unit areas into which the images are inserted, and
            SUMMARY OF THE INVENTION                                   the operation unit for inserting the processing target image
                                                                       into the unit area within the composite area. Further, a
   It is a primary object of the present invention, which was          composite area in to which one or more images are inserted
devised to obviate the above problems inherent in the prior       65   is Stored as an image having predetermined dimensions. A
arts, to provide Such a function that a user can efficiently           user is therefore able to efficiently manage and utilize the
manage and utilize image data.                                         image data.
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                                                    US 6,972,774 B2
                              3                                                                      4
         BRIEF DESCRIPTION OF THE DRAWINGS                            serial bus (which will hereinafter abbreviated to USB) cable
                                                                      300 to an image acquisition device 101.
  FIG. 1 is a view showing an external configuration of an               The image processing System 200 is constructed to func
image processing System in an embodiment of the present               tion in Such a way that a predetermined control program is
invention;                                                            executed by a portable terminal.
   FIG. 2 is a block diagram showing a hardware architec                 The image acquisition device 101 includes a button 102,
ture of the image processing System;                                  provided on a front surface of a device body 100, for
   FIG. 3 is a view showing a principle of an image insert            indicating an execution of an image taking process, and a
proceSS,                                                              lens 103 for forming an image inside the device body 100.
  FIG. 4 is a diagram showing a memory map of an insert               Further, the image acquisition device 101 has an unillus
area,                                                                 trated CCD imaging device incorporated into the device
  FIG. 5 is a view showing a typical image insert process,            body 100.
  FIG. 6 is a view showing a consecutive image insert                    FIG. 2 is the block diagram showing the hardware archi
proceSS,
                                                                 15
                                                                      tecture of the image processing System 200. AS shown in
   FIG. 7 is a diagram showing a data Structure for an image          FIG. 2, the image processing system 200 includes a CPU
data management;                                                      201 for obtaining digital image Signals generated by the
   FIG. 8 is a view showing how the inserted image is                 image acquisition device 101 and controlling the image
transferred;                                                          process, and a memory 202 for Storing the control program
  FIG. 9 is a view how the inserted image is deleted;                 executed by the CPU 201 and data processed by the CPU
  FIG. 10 is a view showing how the inserted image is                 201. The image processing system 200 further includes a
Stored;                                                               touch panel 203 for detecting an operation by a user, a hard
   FIG. 11 is a flowchart showing the insert process;                 disk 204 for recording the data, and a keyboard 206.
   FIG. 12 is a flowchart showing an inserted image trans                The CPU 201 controls photographing by executing the
ferring/deleting process,                                        25   control program stored in the memory 202. The CPU 201
   FIG. 13 is a flowchart showing an inserted image Storing           normally monitors a photographing instruction by the user
proceSS,                                                              or an image operation on the touch panel 203.
  FIG. 14 is a flowchart showing an environment setting                  The CPU 201, when detecting the user's photographing
proceSS,                                                              instruction, Stores a hard disk 204 with the image data
  FIG. 15 is a view showing an example of a variation of the          obtained by the image acquisition device 101.
insert area;                                                             Further, the CPU 201, when detecting the user's image
  FIG. 16 is a diagram showing an example of a variation              operation, i.e., drag-and-drop etc of the image on the touch
of the memory map of the insert area; and                             panel 203, executes a process corresponding to this opera
  FIG. 17 is a chart showing an insert area management                tion. The drag-and-drop herein connotes an operation that an
table.                                                           35   operation target displayed on the Screen, which is pinpointed
                                                                      by a depression on the touch panel 203 or by depressing a
             DETAILED DESCRIPTION OF THE                              mouse button of a mouse, is moved (drag) in this as
               PREFERRED EMBODIMENT                                   depressed State to a desired position, and then this depres
                                                                      Sion is released (drop).
   An embodiment of an image processing System according         40      The memory 202 stores the control program executed by
to the present invention will hereinafter be described with           the CPU 201 and the image data processed by the CPU 201.
reference to FIGS. 1 through 17. FIG. 1 is a view showing                The touch panel 203 is constructed of a combination of a
an external configuration of the image processing System in           liquid crystal display and a Sensor for detecting a position of
this embodiment. FIG. 2 is a block diagram Showing a                  the depressing operation of the user. Icons and image data,
hardware architecture of this image processing System. FIG.      45   which are manipulated by the user, are displayed on the
3 is a view showing a principle of an image insert process.           touch panel 203. The CPU 201 detects the user's manipu
FIG. 4 is a diagram showing a memory map of an insert area            lations with respect to the icons and the image data through
2 shown in FIG. 3. FIG. 5 is a view showing a typical image           the touch panel 203.
insert process. FIG. 6 is a view showing a consecutive image             What is well known as the sensor of this type of touch
insert process. FIG. 7 is a diagram showing a data structure     50   panel 203 may be a pressure Sensitive type Sensor, an
for an image data management. FIG. 8 is a view showing                electroStatic type Sensor and an ultraSonic type Sensor.
how the inserted image is transferred. FIG. 9 is a view how              The device for detecting the manipulating position by the
the inserted image is deleted. FIG. 10 is a view showing how          user is not, however, limited to this touch panel in terms of
the inserted image is stored. FIG. 11 is a flowchart showing          actualizing the present invention, and, as a matter of course,
the insert process. FIG. 12 is a flowchart showing an inserted   55
                                                                      other devices Such as a mouse, a keyboard etc are usable (the
image transferring/deleting process. FIG. 13 is a flowchart
showing an inserted image Storing process. FIG. 14 is a               device such as the touch panel 203, the mouse, the keyboard
flowchart showing an environment setting process. FIG. 15             etc corresponds to a transfer detecting unit.).
is a view showing an example of a variation of the insert                The hard disk 204 stores the data of the image data of a
area. FIG. 16 is a diagram showing an example of a variation     60
                                                                      photographed object and the image data processed by the
of the memory map of the insert area. FIG. 17 is a chart              CPU 201.
showing an insert area management table for managing the                <Outline of Insert Operation>
insert area.                                                            The image processing system 200 in this embodiment
   <Architecture>                                                     executes the image insert proceSS as a characteristic function
  FIG. 1 is a view showing an external configuration of an       65   thereof.
image processing system 200 in this embodiment. The                      FIG. 3 is the explanatory view showing the principle of
image processing System 200 is connected via a universal              the image insert process. The image insert proceSS is a
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                               S                                                                      6
process of inserting and displaying an image Specified by the          photographing button icon 22 or the button provided on the
user into and on an insert area 2 in Scale-down or in Scale-up         image acquisition device 101.
or in equal size.                                                         The photographed image display frame module 23
  The insert area 2 (corresponding to a composite area) is             includes film frames that Simulate a configuration of a film
configured by combining a plurality of blockS 1 in a tile-like         as a whole, an image display area consisting of three pieces
shape. The user may specify an arbitrary color as a back               of film frames, and a Scroll button icon for Scrolling the
ground color of the insert area 2 among colors prepared in             3-frame image display area. The photographed image data
the image processing System 200. Further, the user may                 are displayed on the 3-frame image display area.
Specify dimensions of the insert area 2.                                  The photographing mode menu 24 is used for Switching
  The block(s) (corresponding to a unit area(s)) indicates a           over a photographing mode to a normal photographing mode
position and dimensions in which the image is inserted. The            and a consecutive photographing mode.
user may set arbitrary values for defining the dimensions of              The environment Setting menu 26 Serves to Set an envi
the block(s). The user may also specify an arbitrary value for         ronment of this image photographing System, Such as a
Setting the number of blocks within the insert area 2.                 consecutive photographing interval, a background color of
Referring to FIG. 3, the block 1 is framed in bold at a right     15   the insert area 2 etc.
upper corner of the insert area 2.                                       <Normal Insert Operation>
   In the insert process, the user Specifies, by the drag and            FIG. 5 further shows a transition of the screen when
drop, an insert target original image 3 and a block 4 into             executing a normal insert operation. The normal insert
which the image is inserted. With this operation, at first the         operation is an operation of inserting one piece of original
original image is copied. Next, the copied image is displayed          image displayed in the photographed image display frame
in the insert destination block 4 in Scale-up or in Scale-down         module 23 into one block in the insert area 2.
or in equal size corresponding to the dimensions of this                  Referring to FIG. 5, an arrow line D represents the
block 4.                                                               drag-and-drop implemented by the user. An image 23b
   Referring again to FIG. 3, the drag-and-drop (which will            existing at a start point of the arrow line D is an insert target
hereinafter be called an insert operation) is represented by      25   original image. The image 23b is Selected as a drag-and-drop
use of an arrow line A. With this insert operation, the                target and is therefore framed 31 in bold. Further, a block
original image 3 is inserted into the insert destination block         21b positioned at an end point of the arrow line D is an insert
4. The user may specify any blocks within the insert area 2            destination block. With this drag-and-drop, the image 23b is
                                                                       inserted into the block 21b.
to define a position of this insert destination block. Further,           Note that if a position outside the insert area 2 is specified
if the user executes the insert operation outside the insert           as an insert destination, this insert operation is ruled out.
area 2, this operation is ruled out, with the result that the             <Consecutive Insert Operation>
original image 3 is inserted into none of those blockS 1
within the insert area 2.                                                 FIG. 6 shows a transition of the Screen when executing a
  On the other hand, the user is able to transfer an inserted          consecutive insert operation. The consecutive insert opera
image 4 to a desired block by dragging and dropping (as           35   tion is a process of consecutively inserting a Set of plural
indicated by an arrow line B) the inserted image in the insert         images by one insert operation (CPU201 which provides the
area 2. Further, the user is able to delete the inserted image         function corresponds to a related image indicating module).
4 out of the insert area 2 by dragging and dropping (as                   This set of images consist of a plurality of images
indicated by an arrow line C) the inserted image outside the           photographed in the consecutive photographing mode. If the
insert area 2.
                                                                  40   mage positioned at a head of this set of images is Specified
   FIG. 4 shows the memory map for retaining the respective            as an insert target, this whole Set of images becomes the
                                                                       insert target.
inserted image displayed in the insert area 2. BlockS B1                  Referring to FIG. 6, an arrow line E represents a user's
through B9 configure the insert area 2. Image memory areas             drag-and-drop. An image 23c existing at a start point of the
40 (corresponding to a plurality of unit storage areas)           45   arrow line E is an insert target original image Specified by
corresponding to those blocks B1-B9 are ensured on the                 the user. The image 23C is Selected as a drag-and-drop target
memory 202. With the insert operation described above, data            and is therefore framed 31 in bold.
of the inserted image is Stored in the image memory area 40.             Further, a block 21c positioned at an end point of the
   The data in the image memory areas 40 is displayed                  arrow line E is an insert destination block. An arrow line F,
directly as the inserted image on the touch panel 203.            50   of which a Start point exists in the block 21c, indicates a
Further, the image data in the image memory area 40 is                 transition direction of a consecutive insert target block.
transferred or deleted or stored in the hard disk 204 by the              Thus, according to the consecutive insert operation in the
above operation Such as transferring, deleting and Storing.            present image processing System 200, the images are
These processes are executed under the control of the CPU              inserted consecutively into the blocks disposed in the right
201. The CPU 201 corresponds to a control unit controlling        55   direction from the insert destination block 21c. Further,
an access to the unit Storage area.                                    when the insert destination reaches the block 21d disposed
   <Layout on Screen.>                                                 at a right end of the insert area 2 midways of the consecutive
   FIG. 5 shows a screen for showing the insert operations             insert operation, the insert destination moves round down to
on the touch panel 203 (which corresponds to a display unit            a block 21e disposed at a left end of a next lower row. Then,
displaying the composite area on the Screen). The touch           60   the insert operation continues as an arrow line G indicates.
panel 203 includes the insert area 2, a photographing button           Namely, the consecutive insert operation proceeds in a right
icon 22, a photographed image display frame module 23, a               downward direction with a priority given to the blocks
photographing mode menu 24, and an environment Setting                 disposed in the horizontal direction.
menu 26.                                                                  Further, when the insert position arrives at a block 21f
  The photographing button icon 22 Serves to detect a user's      65   disposed at a right lower corner of the insert area 2 during
photograph instruction through the touch panel 203. The                the consecutive insert operation, this consecutive insert
user Specifies the photograph by depressing any one of the             operation comes to an end. Therefore, remaining images
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among the plurality of consecutive insert target images                 target image. The inserted image in the block 21i is Selected
photographed in the consecutive photographing mode, are                 as a drag-and-drop target image, and is therefore depicted by
ruled out of the insert targets.                                        a dotted line. In this delete process of the inserted image, a
   On the other hand, all the images contained in the above             drop point (the end point of the arrow line I) must be
Set of images are inserted before the insert position arrives           positioned outside the insert area 2.
at the block 21f disposed at a right lower corner of the insert           With this operation, the inserted image in the block 21i is
area 2, the insert operation is finished at this point of time.         deleted. Note that even when deleting the inserted image as
   FIG. 7 shows a data Structure for managing the insert                described above, the original image 23b of the inserted
target image data in the present image processing System                image is not deleted (the original image 23b is indicated by
200. This data structure is generally known as a list struc             an arrow line K in FIG. 9).
ture. In the list Structure, a plurality of elements are linked            <Storage of Inserted Imaged
by next addresses 54a, 54b, 54c etc, and a sequence relation               FIG. 10 shows a transition of the screen when storing the
between the elements is thus expressed. In this list Structure,         inserted image. The Storage of the inserted image is a
a next address 54g is NULL. This element is a tail element              process of Synthesizing the plurality of inserted images in
of the list structure. Further, the tail element is indicated by   15   the insert area 2 into one image, and Storing this Synthesized
a list terminal address 51.                                             image.
  On the other hand, the elements corresponding to the                     The Storage of the inserted image is executed upon
image data displayed in the photographed image display                  depressing the photographing button icon 22 in a State where
frame module 23 on the touch panel 203, are indicated by an             the images are inserted in the insert area 2. With this process,
intra-Screen head address 52 and an intra-Screen terminal               the plurality of inserted images in the insert area 2 are
address 53.                                                             Synthesized into one single image 23c and managed in the
  Each element in this data Structure retains a file name, a            Same way as other images obtained by the photographing
date, a consecutive photographing attribute 55 in addition to           proceSS.
the next address 54 etc. Herein, the file name is a name of                <Function and Effect>
a file in which the image data are Stored. This file is created    25     FIGS. 11 through 14 show the processes of the control
on the hard disk 204. The date is a photographing date when             program executed by the CPU 201 (the touch panel 203 and
the image data are created.                                             the CPU 201 for executing the control program, correspond
   Further, the consecutive photographing attribute 55 indi             to an operation unit.). The CPU 201 executes the control
cates that the image concerned is consecutively photo                   program, thereby providing a function as the image process
graphed. The consecutive photographing attribute 55 has                 ing system 200.
three categories Such as a start of the consecutive photo                  FIG. 11 is a flowchart showing the insert process. In this
graphing, an on-consecutive-photographing State, and an                 process, to start with, the CPU 201 reads the number of
end of the consecutive photographing.                                   blocks, lengthwise and croSSwise dimensions of the block, a
   The Start of the consecutive photographing indicates that            background color of the insert area 2 from the hard disk 204
the image concerned is a start image of the consecutive            35   (S31). The number of blocks, the lengthwise and crosswise
photographing. Further, the end of the consecutive photo                dimensions of the block, the background color of the insert
graphing indicates that the image concerned is an end image             area 2, are set by the user through the environment Setting
of the consecutive photographing. The on-consecutive-pho                menu 26, and stored on the hard disk 204.
tographing State is Set as consecutive photographing                      Next, the CPU 201 calculates lengthwise and crosswise
attribute 55 in a position interposed between the start of the     40   dimensions of the insert area 2 on the basis of the number of
consecutive photographing and the end of the consecutive                blocks and the block dimensions (S32). Further, the image
photographing. These elements form the Set of consecutive               memory areas 40 (shown in FIG. 4) for storing the data of
insert target images.                                                   the insert area 2, are ensured.
   When the image exhibiting the Start-of-consecutive-pho                 Next, the CPU 201 develops the before-insertion original
tographing attribute is specified as an insert target, the whole   45   image on the memory (S33). This original image is dis
Set of imageS containing this image become the insert target.           played in the photographed image display frame module 23.
   <Transfer of Inserted Imaged                                           Subsequently, the CPU 201 detects that the user drags and
   FIG. 8 shows a transition of the screen when transferring            drops the original image (S34). Next, the CPU 201judges
the inserted image. The transfer of the inserted image is an            whether or not the original image is dropped in the insert
operation of transferring the inserted image to an arbitrary       50   area 2 (S35). If nor dropped in the insert area 2 (No
block within the insert area 2.                                         judgement in S35), the CPU 201 finishes the processing.
   Referring to FIG. 8, an arrow line H indicates the drag                Whereas if dropped in the insert area 2, the CPU 201
and-drop by the user. The inserted image in a block 21g                 detects the number of the insert targets (S36). The number
disposed at a start of this arrow line His defined as a transfer        of insert targets is “1” in the case of the images photo
target image. The inserted image in the block 21g is Selected      55   graphed in the normal photographing mode. By contrast, the
as a drag-and-drop target image, and is therefore depicted by           number of the insert targets is the number of consecutively
a dotted line. Further, a block 21h positioned at an end of the         photographed images in the consecutive photographing
arrow line H is a transfer destination block.                           mode.
   With this operation, the before-transfer inserted image in             Next, the CPU 201 calculates a position of the block into
the block 21g is transferred to the block 21h.                     60   which the image should be inserted next within the insert
   <Deletion of Inserted Images                                         area 2 (S37). Subsequently, the CPU201judges whether or
   FIG. 9 shows a transition of the screen when deleting the            not this block position is within the insert area 2 (exceeds the
inserted image. The deletion of the inserted image is an                block 21f disposed at the right lower corner as shown in FIG.
operation to make images disappear from the insert area 2.              6) (S38) If the block position is not within the insert area 2
   Referring to FIG. 9, an arrow line I indicates the drag         65   (No judgement in S38), the CPU201 finishes the processing.
and-drop by the user. The inserted image in a block 21i                   Whereas if the block position is within the insert area 2
disposed at a start of this arrow line I is defined as a delete         (Yes judgement in S38), the CPU 201 modifies the original
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image so as to adapt itself to the block dimensions (S39).                Next, the CPU 201 waits a user's operation (S92). The
Further, the CPU 201 copies this image to the relevant block            user may set the consecutive photographing interval, the
position, and displays it on the Screen.                                background color, the block size in the insert area 2 and the
  Next, the CPU 201 decrements the number of the insert                 number of blocks therein.
targets by “1” (S3a). Subsequently, the CPU 201 judges                    Subsequently, the CPU 201 judges whether or not set
whether or not there is remaining insert target (S3b). If the           conditions are stored (S93). Whether the set conditions are
insert target is left, the CPU 201 returns the control to the           Stored or not is determined based on whether or not a Storage
process in S37 (Yes judgement in S3b). Whereas if no insert             button icon on the unillustrated menu Screen is depressed.
target is left, the CPU 201 finishes the processing.                      In the case of storing these set conditions, the CPU 201
   FIG. 12 shows the transferring/deleting process of the               stores the set conditions in the hard disk 204 (S94). Whereas
inserted image. In the transferring/deleting process of the             if not stored, the CPU 201 comes directly to an end of the
inserted image, the CPU 201 at first detects which insert               processing.
image to be transferred is selected in the insert area 2 (S51).            The image processing system 200 in this embodiment has
                                                                        the display Screen including the blocks into which the
  Next, the CPU 201 detects whether or not the inserted            15   images are inserted, and the insert area 2 defined as an
image is dragged and dropped to a transfer destination (S52).           aggregation of the blocks, wherein the images are inserted
  Subsequently, the CPU 201 judges whether or not the                   into the blocks within the insert area 2, thus forming the
transfer destination is within the insert area 2 (S53). If the          composite images. The user is therefore able to easily obtain
transfer destination is within the insert area 2, the CPU 201           the composite images.
detects a position of this transfer destination block (S54).               Accordingly, there is no necessity for a process of Search
Further, the CPU 201 transfers the inserted image to that               ing a displayed area and a non-displayed area when in the
position (S55). Thereafter, the CPU 201 finishes the pro                imaging process, and even a System having a low throughput
cessing.                                                                is capable of creating the image with a leSS load.
  On the other hand, if the transfer destination exists outside            According to the image processing System 200 in this
the insert area 2 (No judgement in S53), the CPU201 deletes        25   embodiment, the insert process, the transfer of the inserted
the transfer originating inserted image (S.56). Thereafter, the         image to the block within the insert area 2, and the deletion
CPU 201 terminates the processing.                                      and Storage of the inserted image, can be attained by the
   FIG. 13 shows the inserted image storing process. The                drag-and-drop. Accordingly, the user is able to insert the
inserted image Storing proceSS is executed upon detecting a             image arbitrarily and easily.
depression on the photographing button icon 22 when the                    The image processing system 200 in this embodiment
image is being inserted in the insert area 2.                           manages the images photographed in the consecutive pho
   In the inserted image storing process, the CPU 201, to               tographing mode as a set of images. In the case of inserting
begin with, Synthesizes the inserted images embraced in the             this set of images into the blocks, the consecutive insert
insert area 2 into a 1-frame image (S71). Further, the CPU              process is executed. Accordingly, the user can easily insert
201 Scales down this Synthesized image to a Size of one            35   the multiplicity of images. Moreover, if the number of the
frame in the photographed image display frame module 23.                inserted images exceeds the number of the blocks into which
  Next, the CPU 201 displays this scaled-down image in the              the images can be inserted (i.e., if beyond the position of the
photographed image display frame module 23 (S72).                       block at the right lower corner of the insert area), the insert
                                                                        process comes to an end. The user is therefore able to
   Subsequently, the CPU 201 stores the hard disk 204 with         40   execute the insertion without being aware of the number of
the image obtained by Synthesization in a predetermined size            remaining blocks in the insert area.
(S73). Thereafter, the CPU 201 finishes the processing.                    The image processing system 200 in this embodiment
  Note that the size of the image stored on this hard disk 204          Synthesizes the images in the insert area 2 into the 1-frame
is previously defined by the number of blocks (the number               image and thus Stores the Synthesized image. As a result, the
of divisions) in the insert area 2.                                45   data of the multiplicity of images are combined into the
   For example, when the insert area 2 is divided lengthwise            Small-capacity image data. It is therefore feasible to decrease
and croSSwise by 4, i.e., 2x2, the Size of the inserted image           the data capacity when distributing through the units for
to be stored is defined lengthwise and crosswise by 320                 Storing, managing and communicating the image data.
dotsx240 dots. When the insert area 2 is divided lengthwise                <Modified Example of Hardware Architecture>
and croSSwise by 9, i.e., 3x3, the Size of the inserted image      50     The embodiment discussed above has dealt with the
to be stored is defined lengthwise and crosswise by 480                 image processing System 200 constructed by incorporating
dotsx360 dots.                                                          the control program into the portable terminal. The embodi
  Based on this item of definition data, the image Set to a             ment of the present invention is not, however, limited to this
Size corresponding to the number of blocks (the number of               architecture. The present invention can be embodied in, for
divisions) set when in the insert process, is stored on the hard   55   example, a personal computer and a WorkStation, or in a
disk 204.                                                               television etc including the memory for Storing the image
                                                                        data and the CPU for executing the control program.
   Furthermore, the image thus stored on the hard disk 204                 <Modified Example of Original Image Generating
is managed as one element of the data structure in FIG. 7 by            Methods
the Same processing with an image newly obtained in the            60      The image processing system 200 in the embodiment
photographing process.                                                  discussed above eXecutes the insert process of the image
   FIG. 14 shows the environment setting process. The                   data generated by the image acquisition device 101. Accord
environment Setting process is executed upon detecting a                ing to the present invention, however, the insert target image
depression on the environment Setting menu 26 on the touch              is not confined to the image generated by the image acqui
panel 203.                                                         65   Sition device 101. For instance, the image processing System
   In the environment setting process, to start with, the CPU           200 is provided with a memory card interface, and the data
201 displays an unillustrated menu screen (S91).                        of the image photographed by other digital camera etc may
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be read and Set as an insert target. Further, the image              head address, a terminal address, and coordinates for indi
processing system 200 may also be provided with a                    cating a left lower corner and a right upper corner of the
MODEM or a LAN interface. Then, the images created by                block.
other computers etc are received and may also be set as                 An area of this table has a variable length corresponding
insert targets.                                                      to the number of blocks that is specified in the environment
   Moreover, the image data generated by other processes             setting menu 26. Accordingly, the CPU 201 ensures a
(other application program) in the image processing System           necessary area on the memory 202 corresponding to the
200 may also be set insert targets.                                  number of blocks.
   <Modified Example of Specifying Consecutive Insert                  Further, the CPU 201 detects and sets the respective
Process.>                                                            coordinates of the left lower corner and the right upper
  In the embodiment discussed above, the consecutive                 corner of the block on the basis of the positions and
insert proceSS is executed when the head image in the Set of         dimensions of the respective blocks which are Specified
plural images photographed in the consecutive photograph             when Setting the environment.
ing mode is specified as the insert target. The embodiment             Moreover, the CPU 201, based on the size of each of the
of the present embodiment is not, however, restricted to this   15   blocks, determines a required capacity of the image memory
insert method. For example, when an image other than the             areas 40, and Sets the image memory area head address and
head image in the Set of images is specified as an insert            terminal address for every block.
target, all the images contained in the Set of images may be           When inserting the image, the CPU 201 obtains the
consecutively inserted.                                              position of each block on the basis of contents of this insert
   Further, when the image other than the head image in the          area management table. Further, the CPU 201 obtains a size
Set of imageS is Specified as the insert target, the images          of the block from the coordinates of the left lower corner and
inclusive of the image specified as the insert target may be         the right upper corner of the block, and Scales up or down
consecutively inserted.                                              the original image. Moreover, the CPU 201stores the image
   Further, the Set of images are not limited to the Set of          data thereof in the image memory area 40 corresponding to
plural images photographed in the consecutive photograph        25   the insert destination block.
ing mode. For instance, there may be provided a photo                   Note that the insert area management table may be Stored
graphing mode in which a Set of images may be composed               beforehand with the sizes of the respective blocks instead of
of images obtained by the normal photographing. Moreover,            obtaining the size of the block from the coordinates of the
the image processing System 200 may incorporate a com                left lower corner and the right upper corner of the block.
bination specifying function for combining the plurality of             This insert area2a being thus Structured, the user becomes
images. This function may be attained in Such a way that a           capable of Separately using the blockS Such as inserting an
desired image is specified, for example, by depression               important image into a large block and an unimportant
pinpointing this image while Scrolling the images in the             image into a Small block.
photographed image display frame module 23 on the touch                 <Modified Example of Consecutive Insert Direction>
panel 203 shown in FIG. 5. The CPU 201, when the image          35      According to the image processing System 200 in the
in the photographed image display frame module 23 is                 embodiment discussed above, when executing the consecu
depression-pinpointed during an execution of the combina             tive insert process, the image insertion proceeds, from the
tion Specifying function, may define a Set of images by              block in the insert Start position, in the right downward
recognizing the image data from coordinates thereof.                 direction with the priority given to the blocks disposed in the
   <Modified Examples of Insert Area and Blocki>                40   horizontal direction. The embodiment of the present inven
  The embodiment discussed above has dealt with the                  tion is not, however, restricted to this consecutive insert
image processing System 200 including the insert area                direction. That is, the consecutive insertions may proceed in
composed of the blocks each having the same dimensions.              any directions, whether upwards and downwards, or right
The embodiment of the present invention is not, however,             wards and leftwards. Further, the images may also be
limited to this construction. For instance, an insert area 2a   45   inserted at random by creating random numbers.
may be composed of the blocks having different dimensions               <Readable-by-Computer Recording Medium>
as shown in FIG. 15.                                                    The control program in this embodiment may be recorded
  In this case, as shown in FIG. 16, the insertion, transfer,        on a readable-by-computer recording medium. Then, a com
deletion and Storage can be executed in the same manner as           puter reads the control program on this recording medium,
the embodiment discussed above by ensuring the image            50   and executes this program, whereby the computer functions
memory areas 40 having capacities different per block. If the        as the image processing System 200 demonstrated in this
image inserted into the block having comparatively Small             embodiment.
dimensions is transferred to a block having comparatively               Herein, the readable-by-computer recording medium
large dimensions, a data quantity decreases, with the result         embraces recording mediums capable of Storing information
that the image quality declines. In this case, an image         55   Such as data, programs, etc electrically, magnetically, opti
adapted to the Specified block dimension may be created              cally and mechanically or by chemical action, which can be
from the original image, and reinserted.                             all read by the computer. What is demountable out of the
   Thus, what is needed when using the blocks having the             computer among those recording mediums may be, e.g., a
different dimensions in the insert area 2, is a module for           floppy disk, a magneto-optic disk, a CD-ROM, a CD-R/W,
managing the coordinates for indicating a position of each      60   a DVD, a DAT, an 8 mm tape, a memory card, etc.
block and the dimensions for indicating a size thereof.                Further, a hard disk, a ROM (Read Only Memory) and so
Another requirement is to provide a module for managing              on are classified as fixed type recording mediums within the
addresses in the image memory areas 40 for Storing the               computer.
image data in the respective blockS.                                   <Data Communication Signal Embodied in Carrier
   FIG. 17 shows a Structure of an insert area management       65   Waves
table provided for those usage. This table contains a block            Furthermore, the control program described above may be
number for identifying each block, an image memory area              Stored in the hard disk and the memory of the computer, and
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downloaded to other computers via communication media.                   an operation unit aggregating the matrix of the plurality of
In this case, the program is transmitted as data communi                    blocks, whether filled with an image or vacant into a
cation Signals embodied in carrier waves via the communi                    combined image.
cation media. Then, the computer downloaded with this                    6. An image processing apparatus according to claim 5,
program can be made to function as the image processing          5    wherein the image inserted into the block is transferable to
system 200 in this embodiment.                                        other blocks within the composite area.
   Herein, the communication media may be classified into                7. An image processing apparatus according to claim 5,
cable communication mediums (such as metallic cables                  wherein the image inserted into the block is deleted by
including a coaxial cable and a twisted pair cable, or an             transferring the same image to a position outside the com
optical communication cable), and wireless communication              posite area.
media (Such as Satellite communications, ground wave wire                8. An image processing apparatus according to claim 5,
less communications, etc.).                                           wherein the processing target image is inserted into the
   Further, the carrier waves are electromagnetic waves or            block by a drag-and-drop operation.
light beams for modulating the data communication signals.               9. An image processing apparatus according to claim 5,
The carrier waves may, however, be DC signals (in this case,     15   further comprising:
the data communication Signals take a base band waveform                 a transfer detection unit indicating a processing target
with no carrier wave). Accordingly, the data communication                  image and detecting a transfer of the indicated image,
Signal embodied in the carrier wave maybe any one of a                  wherein the indicated image is inserted into the block.
modulated broad band Signal and a non-modulated base                     10. An image processing apparatus according to claim 5,
band Signal (which corresponds to a case of Setting a DC              wherein the composite area into which the images are
Signal having a voltage of 0 as a carrier wave).                      inserted is Stored as an image having predetermined dimen
  What is claimed is:
  1. An image processing apparatus, comprising:                       Sions.
  at least one processing target unit image;                             11. An image processing apparatus according to claim 5,
  a plurality of vacant unit Storage areas arranged in a         25   further comprising:
     matrix to have images Selectively inserted; and                     a related image indicating module relating a plurality of
  a control unit controlling an access to each of the unit                  target images to each other,
     Storage areas,                                                     wherein when a first target image is related to other
   wherein the control unit Stores the at least one processing              images, the related images are consecutively inserted
      target unit image in at least one of the plurality of                 together as a group with the first target image into the
      vacant unit Storage areas in accordance with a Selected               plurality of blocks.
      insertion of the at least one processing target unit               12. An image processing apparatus according to claim 11,
      image, accesses the unit Storage areas in a predeter            wherein when the number of images to be inserted exceeds
      mined Sequence, and thereby generates a composite               the number of insertable vacant blocks, the image insertion
      image from the unit images.                                35   is finished.
   2. The image processing apparatus according to claim 1,              13. An image processing apparatus according to claim 5,
further comprising:                                                   wherein the composite area is composed of blocks having
   unit Storage areas having different capacities,                    different dimensions.
   wherein the composite image is composed of the unit                  14. An image processing apparatus according to claim 5,
      images having different dimensions.                        40   wherein dimensions of the blocks are specified irrespective
   3. A Storage medium readable by a machine, tangibly                of dimensions of the processing target image, and
embodying a program of instructions executable by the                   the processing target image is adjusted to the dimensions
machine to perform operations, comprising:                                 of the block that accepts the inserted image.
   displaying a composite area on a display of the machine              15. An image processing apparatus according to claim 5,
      as an aggregation of Vacant unit areas arranged in a       45
                                                                      wherein the number of the blocks within the composite area
      matrix into which images are insertable; and                    can be arbitrarily Set.
   Selectively inserting processing target images into                  16. An image processing apparatus according to claim 5,
     Selected ones of the vacant unit areas within the com
     posite area.                                                     wherein a background color of the blocks can be arbitrarily
                                                                      Set.
  4. A Storage medium readable by a machine, tangibly            50
                                                                         17. An image processing apparatus according to claim 5,
embodying a program of instructions executable by the                 wherein a configuration of the blockS is a rectangular shape
machine to perform operations, comprising:
  displaying a composite area as an aggregation of Vacant             of which dimensions can be arbitrarily set.
     unit areas arranged in a matrix into which images are               18. An image processing apparatus according to claim 7,
     insertable;                                                 55   wherein even when the image inserted into the block is
  detecting an indication of a processing target image;               deleted, an original image of the image inset in the block is
  detecting a transfer of the indicated image; and                    not deleted.
  Selectively inserting the indicated image into one of the             19. An image processing apparatus according to claim 5,
     vacant unit areas.                                               wherein dimensions of the composite area can be arbitrarily
  5. An image processing apparatus, comprising:                  60 Set.
  a controlling unit for dividing a portion of a display into            20. An image processing apparatus according to claim 11,
     a predetermined composite area, wherein the composite            wherein the plurality of target images are consecutively
     area includes a plurality of vacant blocks arranged in a         inserted into the plurality of blockS Starting from an arbi
     matrix and each of the plurality of blockS may have a            trarily Specified block within the composite area matrix.
     processing target image inserted from a Source or any       65
     of the plurality of blocks may be left vacant;
